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Plumb; Stanley P. Presley; Ian M.G. Prosser; Ian Springett; Peter D. Sutherland; and
Michael H. Wilson; and Nominal Defendants BP p.1.c., BP America Inc.; BP Oil Co. Inc.;
and BP Exploration (Alaska) Inc.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

UNITE HERE NATIONAL RETIREMENT FUND,
LONDON PENSIONS FUND AUTHORITY, and
JEFFREY PICKETT, Derivatively On Behalf of

BP p.l.c., BP AMERICA INC., BP OIL CO. INC.
and BP EXPLORATION (ALASKA) INC.,

Plaintiffs, Case No. 3:06-cv-00239 RRB

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)
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vs. )
)
THE LORD JOHN BROWNE OF MADINGLEY, )
IAN M.G. PROSSER, PETER D. SUTHERLAND, _ )-R@aa@@32D]
BYRON E. GROTE, ANTHONY B. HAYWARD, ) ORDER EXTENDING
JOHN A. MANZONI, DAVID C. ALLEN, IAINC. ) TIME TO FILE ANSWER
CONN, JOHN H. BRYAN, ERROLL B. DAVIS, JR., ) OR RESPONSIVE
WALTER E. MASSEY, H. MICHAEL P. MILES, ) PLEADING
MICHAEL H. WILSON, DEANNE S. JULIUS,)

THOMAS F.W. McKILLOP, ANTONY )
BURGMANS, DOUGLAS J. FLINT, WILLIAMM. _)
)

 

[Caption continued on following page. |

Unite Here National Retirement Fund, et al v. Browne, et al Case No.3:06-cv-00239 RRB
[Proposed] Order Granting Extension of Time to File Answer or Responsive Pleading Page 1 of 2

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CASTELL, ROBERT A. MALONE, ROSS J.
PILLARI, STEPHEN MARSHALL, DEBRA A.
PLUMB, DEBRA A. DOWLING, IAN SPRINGETT,
DANIEL B. PINKERT, NEIL R. McCLEARY,
PAULA J. CLAYTON, ALASTAIR M. GRAHAM,
CHRIS J. PHILLIPS, STANLEY P. PRESLEY,
ROBIN B. NICHOLSON, CHARLES F. KNIGHT,
FLORIS A. MALJERS, RICHARD L. OLVER,
RODNEY F. CHASE, JOHN G.S. BUCHANAN,
RICHARD C. WOOLLAM and WILLIAM
DOUGLAS FORD,

Defendants.
-and-

BP p.l.c., BP AMERICA INC., BP OIL CO. INC.
and BP EXPLORATION (ALASKA) INC.,

Nominal Defendants.

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PROPOSED] ORDER GRANTING EXTENSION OF TIME
TO FILE ANSWER OR RESPONSIVE PLEADING

The Court accepts the stipulation of the parties through their counsel, and
pursuant to the stipulation it is ordered that the defendants’ answers or other pleadings
filed in response to the plaintiffs’ complaint shall be due not later than 45 days after the

court rules on the plaintiffs’ motion to remand this matter to state court.

ENTERED this “4 \__ day of Ockgiber , 2006.

i Fer
RALPH R: BEISTLINE
U.S. District Court Judge

Unite Here National Retirement Fund, et al v. Browne, et al Case No.3:06-cv-00239 RRB
[Proposed] Order Granting Extension of Time to File Answer or Responsive Pleading Page 2 of 2

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